Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Integrated Healing Technologies, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Pioneer Technology, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  100A Beta Drive
                                  Franklin, TN 37064
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Williamson                                                     Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.ihtwoundcare.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Integrated Healing Technologies, LLC                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3842

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                    Relationship
                                                 District                                 When                             Case number, if known




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         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.
                                 Notwithstanding this statement, the information in this petition is from the Debtor's corporate records. I have no knowledge
                                 other than my reliance upon the company's books and records, as to the accuracy of the information provided. Further, to the
                                 extent values are listed for any asset, the values do not necessarily reflect the fair market or liquidation value of such assets,
                                 merely what the Debtor's records show.

                                 I declare under penalty of perjury that the foregoing declaration is true and correct.

                                 Executed on      07/09/2018
                                                  MM / DD / YYYY



                             X   /s/ Albert Rodewald                                                       Albert Rodewald
                                 Signature of authorized representative of debtor

                                 Title   Co-Chair of the Board




                             X   /s/ Robert Lipman                                                           Robert Lipman
                                 Signature of authorized representative of debtor


                                 Title   Co-Chair of the Board




18. Signature of attorney    X   /s/ JOHN C. TISHLER                                                       Date   07/09/2018
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 JOHN C. TISHLER 013441
                                 Printed name

                                 Waller Lansden Dortch & Davis LLP
                                 Firm name

                                 511 Union Street
                                 Suite 2700
                                 Nashville, TN 37219-1791
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615-244-6380                  Email address      john.tishler@wallerlaw.com


                                 013441 TN
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Integrated Healing Technologies, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 9, 2018                            X /s/ Albert Rodewald
                                                                       Signature of individual signing on behalf of debtor

                                                                        Albert Rodewald
                                                                        Printed name

                                                                        Co-Chair of the Board
                                                                        Position or relationship to debtor

                                                                     X /s/ Robert Lipman
                                                                       Signature of individual signing on behalf of debtor

                                                                        Robert Lipman
                                                                        Printed name

                                                                        Co-Chair of the Board
                                                                        Position or relationship to debtor



Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Integrated Healing Technologies, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,352,603.11

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,352,603.11


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                157.42

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       16,334,105.46


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         16,334,262.88




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Debtor name         Integrated Healing Technologies, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     FirstBank                                               Checking                        9397                                    $35,500.00




           3.2.     FirstBank                                               Payroll Account                 0940                                       $500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $36,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Office Lease Security Deposit                                                                                                    $2,850.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                  Name




           7.2.     MTEMC - Electricity Deposit                                                                                                   $350.00




           7.3.     Atmos Energy - Gas Deposit                                                                                                    $350.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Credit on Comcast Account                                                                                                     $150.00




 9.        Total of Part 2.                                                                                                                 $3,700.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 18,720.88   -                                 0.00 = ....                $18,720.88
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                                    10,272.99   -                                0.00 =....                  $10,272.99
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                               $28,993.87
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:


           14.1.     NovaBay - 1,725 shares of NBY Common Stock                                             N/A                                 $4,347.00



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership

 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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                Name

           Describe:


 17.       Total of Part 4.                                                                                                             $4,347.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           See Attachment B.21.                       Q1 2017                           $2,535,324.00   Recent cost                    $2,535,324.00



 22.       Other inventory or supplies
           FloSure and Qtips
           provided in kits -
           Included in Finished
           Goods Attachment B.21.                     Q1 2017                             $21,568.24    Recent cost                       $21,568.24




 23.       Total of Part 5.                                                                                                        $2,556,892.24
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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                Name



 39.       Office furniture
           Up Front Costs for 7 Yearlink Headsets,
           furniture - bookshelf/end table, Desktop for
           Development, 4 Drawer Vertical File with Lock,
           (4) 2 Drawer Filing Cabinets, Pallet Truck, 10
           Shelving Units, Exhibit Booth, Fellowes
           C-225CI Paper Shredder, Cubicles - Used, TV
           Monitor for Exhibit Booth, Herman Miller
           Chairs, Booths                                                             $23,840.00     N/A                               $23,840.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           E5470 Dell Laptops: S/Ns F8CCPC2, 6DXFQF2,
           6HXFQF2, HHXFQF2, F87PSF2, CWTSSF2,
           77MQSF2, 475T1G2, 75T1G2, F6262G2,
           4GST2H2, 3S931G2, 1YK01G2, BLR01G2,
           CMM71G2, H98B3H2, 13GM9H2, F5GM9H2;
           and
           PowerEdge T330 Server S/N 44ZBJL2                                          $29,521.00     N/A                               $29,521.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $53,361.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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                Name

            Manufacturing Equipment - Stand Assy
            Flexible ARM, C115 UV Wand System 98850,
            Radiometer 7020 UV Wand Sys, Sngl Light
            Guide 1M x 5MM                                                              $2,970.00                                           $2,970.00




 51.        Total of Part 8.                                                                                                            $2,970.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     100A Beta Drive                      Leased Office
                     Franklin, TN 37064                   Space                             $0.00      N/A                                         $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy

            Case 3:18-bk-04526                        Doc 1           Filed 07/09/18 Entered 07/09/18 17:42:22                 Desc Main
                                                                     Document      Page 11 of 78
 Debtor         Integrated Healing Technologies, LLC                                         Case number (If known)
                Name

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark: Integrated Healing Technologies
            See Attachment B.60 for list of Registered IP                            $132,050.00     N/A                             $132,050.00



 61.        Internet domain names and websites
            www.ihtwoundcare.com                                                       Unknown       N/A                                Unknown



 62.        Licenses, franchises, and royalties
            NovaBay                                                                  $368,045.00     N/A                             $368,045.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            FDA 510K approvals:
            K142956 - NewEra Dome Kit
            K143301 - NewEra REVA Kit                                                  Unknown       N/A                                Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                     $500,095.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy

            Case 3:18-bk-04526                        Doc 1           Filed 07/09/18 Entered 07/09/18 17:42:22            Desc Main
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 Debtor         Integrated Healing Technologies, LLC                                         Case number (If known)
                Name

           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Used Assets - Used MediTop pumps for
           demonstrations, evaluations and testing                                                                           $166,244.00




 78.       Total of Part 11.                                                                                              $166,244.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy

            Case 3:18-bk-04526                        Doc 1           Filed 07/09/18 Entered 07/09/18 17:42:22        Desc Main
                                                                     Document      Page 13 of 78
 Debtor          Integrated Healing Technologies, LLC                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $36,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $3,700.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $28,993.87

 83. Investments. Copy line 17, Part 4.                                                                               $4,347.00

 84. Inventory. Copy line 23, Part 5.                                                                           $2,556,892.24

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $53,361.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $2,970.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $500,095.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $166,244.00

 91. Total. Add lines 80 through 90 for each column                                                         $3,352,603.11            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,352,603.11




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy

             Case 3:18-bk-04526                            Doc 1          Filed 07/09/18 Entered 07/09/18 17:42:22                                        Desc Main
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                                                                                   ATTACHMENT B.21. 
                                                                                      INVENTORY
Company Name:        Integrated Healing Technologies LLC
Report Name:         Inventory Valuation
Created On:          6/18/2018
Item ID              Description                               Prod Line      Costing Method UOM     DLA            Last Cost        QOH       UC          Value lass for Disolutio

Total for 75 items                                                                                                                                   2,556,892.75
621                  Bridge Kits                               NPWT ‐            Average      Each     11/02/2017      19.00        21.00    19.06        400.34      Finished
636                  IHT Private Label Dome                    Components ‐      Average      Each     11/09/2017       6.47        94.00     6.47        607.80      Finished
810                  IHT Private Label Mini‐Dome               Components ‐      Average      Each     11/16/2017       6.13          1.00    6.13           6.13     Finished
4109                 IHT Dome Version 3                        Components ‐      Average      Each     12/13/2016       2.02      1,721.00    2.23       3,844.53     Finished
14037                Pinch Clamp White (Small)                 Components ‐      Average      Each     12/13/2016       0.05     11,313.00    0.05        565.65      Finished
15040                40mL PhaseOne 250ppm                      PhaseOne ‐        Average      Each     06/18/2018       6.46     70,949.00    6.38    452,532.27      Finished
15235                235mL PhaseOne                            PhaseOne ‐        Average      Each     06/18/2018      17.31     65,049.00   17.24   1,121,626.89     Finished
16235                OmniPhase 235mL                           PhaseOne ‐        Average      Each     06/07/2018      16.62      1,316.00   16.95     22,305.50      Finished
16602                Y‐connector                               Other ‐           Average      Each     12/05/2017       0.00       997.00     2.79       2,783.00     Finished
16670                NewEra I Canister 900mL + Gel             NPWT ‐            Average      Each     04/12/2018      33.08      3,291.00   13.85     45,573.49      Finished
16690                NewEra II Canister 300mL + Gel            NPWT ‐            Average      Each     04/12/2018      21.84      1,708.00    9.93     16,956.96      Finished
17844                MinisartPTFE_0.2Aum_4mm_nsterile_500      Components ‐      Average      Each     04/20/2018       1.33       475.00     1.33        631.75      Finished
3000723‐USA          Charger for NewEra I and NewEra II Pump   Other ‐           Average      Each     08/14/2017      80.21         50.00   80.21       4,010.59     Finished
31327                Pinch Clamp White (Large)                 Components ‐      Average      Each     12/15/2016       0.05     14,525.00    0.05        735.52      Finished
6‐1142               REVA sub assembly                         Components ‐      Average      Each     01/19/2017      16.29      1,759.00   17.07     30,019.14      Finished
72165‐00             Cutimed Sorbact Swab 7x9 cm               Components ‐      Average      Each     06/14/2018       1.53    108,856.00    1.53    166,635.39      Finished
759‐10mm             10MM Unitary Drain                        Components ‐      Average      Each     12/31/2016       3.87      1,558.00    3.87       6,029.46      Other
98118                Sorbact® Ribbon Gauze 1 x 50 cm           AWC ‐             Average      Each     03/13/2018       1.74       532.00     1.75        929.60      Finished
98119                Sorbact® Ribbon Gauze 10 x 200 cm         AWC ‐             Average      Each     04/12/2018       4.93       372.00     4.95       1,841.11     Finished
98120                Sorbact® Ribbon Gauze 5 x 200 cm          AWC ‐             Average      Each     06/11/2018       3.46       290.00     3.46       1,003.93     Finished
98121                Sorbact® Ribbon Gauze 2 x 50 cm           AWC ‐             Average      Each     05/17/2018       1.77       280.00     1.77        495.61      Finished
98125                Sorbact® Compress 7 x 9 cm                AWC ‐             Average      Each     06/18/2018       1.07     25,177.00    1.07     26,913.70      Finished
98126                Sorbact® Round Swab (5pc x 14) 03 cm      AWC ‐             Average      Each     04/18/2018       0.00        14.00     0.45           6.29     Finished
98128                Sorbact® Compress 4 x 6 cm                AWC ‐             Average      Each     06/15/2018       0.00      7,998.00    0.73       5,839.56     Finished
98136                Sorbact® Gel Compress 7.5 x 7.5 cm        AWC ‐             Average      Each     06/14/2018       0.00      3,110.00    1.47       4,564.61     Finished
98137                Sorbact® Gel Compress 7.5 x 15 cm         AWC ‐             Average      Each     04/20/2018       0.00      5,076.00    2.15     10,907.46      Finished
98139                Sorbact® Gel Compress 3 x 15 cm           AWC ‐             Average      Each     06/18/2018       0.00        10.00     1.84         18.35      Finished
98140                Sorbact® Surgical Dressing 5 x 7 2 cm     AWC ‐             Average      Each     10/13/2017       0.18     18,454.00    0.19       3,527.11     Finished
98141                Sorbact® Surgical Dressing 8 x 10 cm      AWC ‐             Average      Each     06/18/2018       0.00      9,249.00    0.46       4,208.56     Finished



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                                                                                            ATTACHMENT B.21. 
                                                                                               INVENTORY
Company Name:      Integrated Healing Technologies LLC
Report Name:       Inventory Valuation
Created On:        6/18/2018
Item ID            Description                                          Prod Line      Costing Method UOM     DLA            Last Cost       QOH       UC       Value lass for Disolutio

98142              Sorbact® Surgical Dressing 8 x 15 cm                 AWC ‐             Average      Each     06/04/2018       0.00     3,536.00    0.55    1,953.44     Finished
98143              Sorbact® Surgical Dressing 10 x 20 cm                AWC ‐             Average      Each     06/14/2018       0.78     3,662.00    0.79    2,901.58     Finished
98144              Sorbact® Surgical Dressing 10 x 25 cm                AWC ‐             Average      Each     05/09/2018       0.00    25,895.00    0.94   24,305.41     Finished
98145              Sorbact® Surgical Dressing 10 x 30 cm                AWC ‐             Average      Each     01/19/2018       0.00     9,410.00    1.09   10,282.10     Finished
98146              Sorbact® Surgical Dressing 10 x 35 cm                AWC ‐             Average      Each     06/14/2018       1.33    10,300.00    1.33   13,664.63     Finished
98222              Sorbact® Absorption Dressing 10 x 10 cm              AWC ‐             Average      Each     05/01/2018       2.47      360.00     1.92     692.19      Finished
98223              Sorbact® Absorption Dressing 10 x 20 cm              AWC ‐             Average      Each     05/01/2018       3.39      240.00     2.93     703.22      Finished
98224              Sorbact® Absorption Dressing 7 x 9 cm                AWC ‐             Average      Each     06/14/2018       2.12      504.00     1.69     853.48      Finished
98501              Sorbact® Superabsorbent 10 x 10 cm                   AWC ‐             Average      Each     06/15/2018       2.49     1,005.00    1.85    1,860.18     Finished
98502              Sorbact® Superabsorbent 10 x 20 cm                   AWC ‐             Average      Each     06/11/2018       0.00     2,942.00    2.92    8,595.89     Finished
98503              Sorbact® Superabsorbent 20 x 20 cm                   AWC ‐             Average      Each     06/11/2018       5.08     1,015.00    5.08    5,154.55     Finished
98504              Sorbact® Superabsorbent 20 x 30 cm                   AWC ‐             Average      Each     06/14/2018       9.47      949.00     7.99    7,584.92     Finished
98531              Sorbact® Foam Gentle Boarder 7.5 x 7.5 cm            AWC ‐             Average      Each     06/11/2018       0.00     2,140.00    2.98    6,376.64     Finished

98532              Sorbact® Foam Gentle Boarder 10 x 10 cm              AWC ‐             Average      Each     03/12/2018       0.00     1,989.00    4.30    8,545.92     Finished
98533              Sorbact® Foam Gentle Boarder 15 x 15 cm              AWC ‐             Average      Each     03/13/2018       0.00      718.00     6.64    4,770.34     Finished
100520             FloSure Ventilation Patch                            Components ‐      Average      Each     11/09/2017       2.90     5,302.00    2.90   15,399.96      Other
316670             NewEra I Canister Luer Lock 900mL + Gel              NPWT ‐            Average      Each     01/05/2017      12.88     1,000.00   12.88   12,879.79     Finished
700221             NewEra Dome Kit ‐ Medium                             NPWT ‐            Average      Each     04/02/2018      25.78      448.00    25.78   11,550.82     Finished
700226             NewEra Dome Basic Kit ‐ Medium                       NPWT ‐            Average      Each     06/06/2018      23.29      416.00    23.82    9,909.24     Finished
700331             NPAK ‐ Negative Pressure Application Kit             PAK ‐             Average      Each     06/14/2018       5.87      160.00     7.18    1,148.03     Finished
8884541300         Cotton Tipped Applicator                             Components ‐      Average      Each     06/14/2018       0.04     3,796.00    0.04     138.83       Other
BAG‐ERAII          New Era II Bag ‐ Individual                          Other ‐           Average      Each     10/31/2016       6.16      500.00     6.16    3,080.00     Finished
CMP‐9GA            Wire Bed Hanger ‐ Cork Medical                       NPWT ‐            Average      Each     06/18/2018      25.77         5.00   26.12     130.59      Finished
CPC‐250            250 Canister ‐ Cork Medical                          NPWT ‐            Average      Each     06/18/2018      12.44       24.00    12.52     300.53      Finished
CPC‐500            500 Canister ‐ Cork Medical                          NPWT ‐            Average      Each     06/18/2018      14.39       45.00    14.58     655.89      Finished
CS‐012             Spike‐able Caps for PhaseOne 235ml                   Other ‐           Average      Each     06/18/2018       0.16    44,202.88    0.15    6,840.63     Finished
CSP‐100‐ES‐B       Port Pad Assembly ‐ Cork Medical                     Components ‐      Average      Each     12/30/2017      10.00       10.00    10.00     100.00      Finished
CSP‐100‐ES‐C‐D‐F   Sterile Port Pad Assembly Prototype with Filter ‐    Components ‐      Average      Each     05/29/2018      17.62       30.00    17.62     528.56      Finished
                   Cork Medical
CSP‐100‐ES‐EXT     Tube Extenders ‐ Cork Medical                        Components ‐      Average      Each     05/29/2018       4.74       28.00     4.73     132.43      Finished



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                                                                                        ATTACHMENT B.21. 
                                                                                           INVENTORY
Company Name:        Integrated Healing Technologies LLC
Report Name:         Inventory Valuation
Created On:          6/18/2018
Item ID              Description                                    Prod Line      Costing Method UOM     DLA            Last Cost       QOH          UC                 Value lass for Disolutio

CSP‐PP with Filter   Port Pad Assembly with Filter ‐ Cork Medical   Components ‐      Average      Each     02/08/2018      20.00       12.00      20.00                240.00      Finished

CWD‐200              10”x12” 1.2.3 Drape ‐ Cork Medical             NPWT ‐            Average      Each     04/03/2018       5.70       10.00       5.70                  56.98     Finished
CWF‐100‐ES‐B         Medium Foam ‐ Cork Medical                     NPWT ‐            Average      Each     11/30/2017       6.00       30.00       6.00                180.00      Finished
CWY‐100              Y Connector ‐ Cork Medical                     Other ‐           Average      Each     06/18/2018       5.15       36.00       5.18                186.52      Finished
FM‐BRDG‐A‐16         Foam Bridge Kit ‐ Cork                         NPWT ‐            Average      Each     06/18/2018      16.23       56.00      16.29                912.40      Finished
IHT‐082‐125‐2        Tubing 0.125 x 0.25 x 3'                       Components ‐      Average      Each     06/02/2017       0.79     4,626.00      0.79               3,662.68     Finished
M020302              NewEra Dome Kit ‐ Medium                       NPWT ‐            Average      Each     06/15/2018      34.88      440.00      34.88              15,345.00     Finished
MS407‐WB             Skin Tac Wipe                                  Components ‐      Average      Each     06/14/2018       0.21     4,737.00      0.21                995.22      Finished
N761310              IHT Drape ‐ Convenience Kit                    NPWT ‐            Average      Each     06/14/2018       0.00    10,316.00      5.44              56,098.98     Finished
N761311              IHT Drape Kit (1 Drape)                        NPWT ‐            Average      Each     11/17/2017       3.31    15,317.00      3.32              50,869.86     Finished
NEWERAIC             New Era Pump I ‐ Purchase                      NPWT ‐            Average      Each     08/11/2017   1,846.43      106.00    1,925.20           204,071.23      Finished
NEWERAIIC            New Era Pump II ‐ Purchase                     NPWT ‐            Average      Each     12/21/2017   1,203.86       74.00    1,276.28             94,444.69     Finished
WXL‐BAG              NewEra I Bag                                   Other ‐           Average      Each     10/31/2016       7.15     2,500.00      7.15              17,875.00     Finished
WXS‐BAG              NewEra II Bag                                  Other ‐           Average      Each     10/31/2016       6.16     2,499.00      6.16              15,393.84     Finished
Total for 75 items                                                                                                                                                 2,556,892.75



                                                                                                                                                               2,535,324.25         Finished

                                                                                                                                                                     21,568.24       Other




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                                ATTACHMENT B.60.

                                Registered IP Collateral

Application No.      Application Status    Filing Date      Patent No.   Issue Date
11602653             Issued                Nov. 21, 2006    7648488      Jan. 19, 2010
12033558             Issued                Feb. 19, 2008    8357130      Jan. 22, 2013
12688485             Abandoned             Jan. 14, 2010
13534597             Abandoned             June 27, 2012
14061672             Abandoned             Oct. 23, 2013
14378306             Pending               Aug. 12, 2014
14378309             Pending               Aug. 12, 2014
14425570             Pending               Mar. 3, 2015
14491487             Pending               Sept. 19, 2014
15836392             Pending               Dec. 8, 2017
15960264             Pending               Apr. 23, 2018
15963005             Pending               Apr. 25, 2018
29494485             Issued                June 20, 2014    D758572      June 7, 2016
60738690             Expired               Nov. 21, 2005
60890275             Expired               Feb. 16, 2007
61571366             Expired               June 27, 2011
61633509             Expired               Feb. 13, 2012
61633515             Expired               Feb. 13, 2012
61633516             Expired               Feb. 13, 2012
61633517             Expired               Feb. 13, 2012
61633527             Expired               Feb. 13, 2012
61633528             Expired               Feb. 13, 2012
61633529             Expired               Feb. 13, 2012
61696660             Expired               Sept. 4, 2012
61880049             Expired               Sept. 19, 2013
PCT/US06/45036       Expired               Nov. 12, 2006
PCT/US13/58062       Expired               Sept. 4, 2013
PCT/US13/25875       Expired               Feb. 13, 2013
PCT/US13/25901       Expired               Feb. 13, 2013
PCT/US18/28928       Pending               Apr. 23, 2018
CA 2864414           Pending               Aug. 12, 2014
CA 2864419           Pending               Aug. 12, 2014
EP 2006844464        Granted               Sept 30, 2008    2010245      Oct. 14, 2015
EP 2013749565        Granted               Sept. 11, 2014   2814556      Dec. 7, 2016
EP 2013749574        Granted               Sept. 11, 2014   2814532      Apr. 5, 2017




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                              Document      Page 18 of 78
 Fill in this information to identify the case:

 Debtor name         Integrated Healing Technologies, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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            Case 3:18-bk-04526                        Doc 1           Filed 07/09/18 Entered 07/09/18 17:42:22                   Desc Main
                                                                     Document      Page 19 of 78
 Fill in this information to identify the case:

 Debtor name         Integrated Healing Technologies, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                             $23.52        $23.52
           GEORGIA DEPT OF REVENUE                                   Check all that apply.
           COMPLIANCE DIV - ARCS                                        Contingent
           BANKRUPTCY                                                   Unliquidated
           1800 CENTURY BLVD NE STE                                     Disputed
           9100
           ATLANTA, GA 30345-3202
           Date or dates debt was incurred                           Basis for the claim:
           5/2018 & 6/2018                                           SALES TAX

           Last 4 digits of account number 4217                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $133.90        $133.90
           TN DEPARTMENT OF REVENUE                                  Check all that apply.
           TN ATTY GENERAL'S OFFC,                                      Contingent
           BANKR DIV                                                    Unliquidated
           PO BOX 20207                                                 Disputed
           NASHVILLE, TN 37202-0207
           Date or dates debt was incurred                           Basis for the claim:
           Q2 2018                                                   SALES TAX

           Last 4 digits of account number 5SLC                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




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 Debtor       Integrated Healing Technologies, LLC                                                    Case number (if known)
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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,280.72
          ABIGO MEDICAL SB                                                      Contingent
          SE-436                                                                Unliquidated
          33EKONOMIVAGEN 5                                                      Disputed
          SWEDEN
                                                                             Basis for the claim:    TRADE DEBT
          Date(s) debt was incurred 4/16/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $44.94
          ATMOS ENERGY                                                          Contingent
          PO BOX 790311                                                         Unliquidated
          SAINT LOUIS, MO 63179-0311                                            Disputed
          Date(s) debt was incurred 6/14/18
                                                                             Basis for the claim:    UTILITY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,403.00
          BLOUNT, JOHN                                                          Contingent
          212 LARKTON PL                                                        Unliquidated
          FRANKLIN, TN 37069                                                    Disputed
          Date(s) debt was incurred 10/18/17
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          BLOUNT, JOHN                                                          Contingent
          212 LARKTON PL                                                        Unliquidated
          FRANKLIN, TN 37069                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUBROGATION RIGHTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,076.00
          BRITTON, JIM                                                          Contingent
          3 GIBSON                                                              Unliquidated
          LITTLEROCK, AR 72227                                                  Disputed
          Date(s) debt was incurred 10/20/17
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          BRITTON, JIM                                                          Contingent
          3 GIBSON                                                              Unliquidated
          LITTLEROCK, AR 72227
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUBROGATION RIGHTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $131,007.00
          CALDWELL, MEREDITH                                                    Contingent
          28 INVERARAY                                                          Unliquidated
          NASHVILLE, TN 37215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number       9271
                                                                             Is the claim subject to offset?     No       Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $200,000.00
          CARMICHAEL, CROM                                                      Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    SUBROGATION RIGHTS
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,850.00
          CARR RIGGS & INGRAM                                                   Contingent
          3011 ARMORY DRIVE STE190                                              Unliquidated
          NASHVILLE, TN 37204                                                   Disputed
          Date(s) debt was incurred 4/18/18
                                                                             Basis for the claim:    SERVICES RENDERED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,365.84
          CIT                                                                   Contingent
          21146 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1211                                                Disputed
          Date(s) debt was incurred 5/31/18 & 6/31/2018
                                                                             Basis for the claim:    COPIER LEASE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,924.85
          COPY SOLUTIONS                                                        Contingent
          4091 MALLORY LANE STE 128                                             Unliquidated
          FRANKLIN, TN 37067                                                    Disputed
          Date(s) debt was incurred 5/23-6/13/18
                                                                             Basis for the claim:    TRADE DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,338.34
          CORK MEDICAL                                                          Contingent
          8050 CASTELWAY DR                                                     Unliquidated
          INDIANAPOLIS, IN 46250                                                Disputed
          Date(s) debt was incurred 5/15-6/30/18
                                                                             Basis for the claim:    TRADE DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,636.00
          CRAIG, MARGARET C                                                     Contingent
          27 LEXINGTON GREEN                                                    Unliquidated
          NASHVILLE, TN 37215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number       9238
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,125.00
          CRUMP LAW PC                                                          Contingent
          PO BIX 604                                                            Unliquidated
          NEW CASTLE, IN 46552                                                  Disputed
          Date(s) debt was incurred 6/1/18
                                                                             Basis for the claim:    SERVICES RENDERED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $51.00
          CRYSTAL SPRINGS                                                       Contingent
          PO BOX 660579                                                         Unliquidated
          DALLAS, TX 75266-0579                                                 Disputed
          Date(s) debt was incurred 6/6/18
                                                                             Basis for the claim:    TRADE DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $73,674.58
          CSI MEDICAL                                                           Contingent
          170 COMMERCE WAY                                                      Unliquidated
          GALLATIN, TN 37066                                                    Disputed
          Date(s) debt was incurred 1/17/17 & 5/29/18
                                                                             Basis for the claim:    TRADE DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          DICKE, JAMES F II                                                     Contingent
          40 S WASHINGTON ST                                                    Unliquidated
          NEW BREMEN, OH 45869                                                  Disputed
          Date(s) debt was incurred 11/28/17
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,140.00
          EAG INC                                                               Contingent
          PO BOX 604                                                            Unliquidated
          NEW CARLISLE, IN 46552
                                                                                Disputed
          Date(s) debt was incurred 1/15/18
                                                                             Basis for the claim:    TRADE DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $435,188.00
          FERGUSON, GARY                                                        Contingent
          9233 OLD SMYRNA RD                                                    Unliquidated
          BRENTWOOD, TN 37027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000,000.00
          FIRSTBANK                                                             Contingent
          211 COMMERCE ST, STE 300                                              Unliquidated
          NASHVILLE, TN 37201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LINE OF CREDIT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $151,640.00
          FISHER, JACK                                                          Contingent
          5867 FREDERICKSBURG DR                                                Unliquidated
          NASHVILLE, TN 37215                                                   Disputed
          Date(s) debt was incurred 8/9/17 - 6/19/18
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $160,000.00
          FISHER, JACK                                                          Contingent
          5867 FREDERICKSBURG DR                                                Unliquidated
          NASHVILLE, TN 37215
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUBROGATION RIGHTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $200,000.00
          FISHER, JEFF                                                          Contingent
          539 CLOSE LANE                                                        Unliquidated
          NASHVILLE, TN 37205
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUBROGATION RIGHTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $366,392.00
          FIVE STAR VENTURE FUNDING                                             Contingent
          2002 TYNE BLVD                                                        Unliquidated
          NASHVILLE, TN 37215                                                   Disputed
          Date(s) debt was incurred 9/8/17
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,583.00
          FLATT, STEPHEN F                                                      Contingent
          1872 SANCTUARY PL                                                     Unliquidated
          MURFREESBORO, TN 37128                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number       9240
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          FOLLIN, KATHY                                                         Contingent
          4416 GERALD PL                                                        Unliquidated
          NASHVILLE, TN 37205
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUBROGATION RIGHTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,000.00
          FOLLIN, KATHY                                                         Contingent
          4416 GERALD PL                                                        Unliquidated
          NASHVILLE, TN 37205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES RENDERED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $439,495.00
          GOAD, FRED                                                            Contingent
          917 STUART LANE                                                       Unliquidated
          BRENTWOOD, TN 37027                                                   Disputed
          Date(s) debt was incurred 8/25 & 11/28/17
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,786,626.00
          GRAYMAR INVESTORS                                                     Contingent
          411 GREAT CIRCLE RD                                                   Unliquidated
          NASHVILLE, TN 37228                                                   Disputed
          Date(s) debt was incurred 10/25/17 - 6/18/18
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,733.00
          INGRAM, ORIN H II                                                     Contingent
          1475 MORAN RD                                                         Unliquidated
          FRANKLIN, TN 37069                                                    Disputed
          Date(s) debt was incurred 12/4/17
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,316.77
          INVICTA TECHNOLOGY LLC                                                Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    SERVICES RENDERED
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $39,900.00
          JARAMILLO, ONESIMO                                                    Contingent
          4114 TRINITY LA                                                       Unliquidated
          FRANKLIN, TN 37067                                                    Disputed
          Date(s) debt was incurred 3/26/18
                                                                             Basis for the claim:    LEASE OF 100 BETA DR, FRANKLIN, TN
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $253.80
          LBMC TECHNOLOGY SOLUTIONS                                             Contingent
          PO BOX 1869                                                           Unliquidated
          BRENTWOOD, TN 37024-1869                                              Disputed
          Date(s) debt was incurred 5/31/18
                                                                             Basis for the claim:    SERVICES RENDERED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,506,000.00
          LIPMAN, ROBERT                                                        Contingent
          411 GREAT CIRCLE RD                                                   Unliquidated
          NASHVILLE, TN 37228
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUBROGATION RIGHTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,544.00
          MARY ELIZABETH FRANKLIN REVOCABLE                                     Contingent
          TRUST                                                                 Unliquidated
          301 BOWLING AVE                                                       Disputed
          NASHVILLE, TN 37205
                                                                             Basis for the claim:    MONEY LOANED
          Date(s) debt was incurred
          Last 4 digits of account number       9241                         Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,587.14
          MEDITOP                                                               Contingent
          VLASAKKER 22                                                          Unliquidated
          MONTFOORT 0 3417 XT                                                   Disputed
          Date(s) debt was incurred 9/7 & 9/28/17
                                                                             Basis for the claim:    TRADE DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,298.40
          MERCY SURGICAL DRESSING GROUP INC.                                    Contingent
          4 ZESTA DR                                                            Unliquidated
          PITTSBURGH, PA 15205                                                  Disputed
          Date(s) debt was incurred 6/18/18
                                                                             Basis for the claim:    PRODUCT REFUND
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $159.97
          MIDDLE TN ELECTRIC MEMBERSHIP CORP                                    Contingent
          555 NEW SALEM HWY                                                     Unliquidated
          MURFREESBORO, TN 37129                                                Disputed
          Date(s) debt was incurred 5/2018 - 6/2018
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number 7577
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $439,495.00
          MULLINS, KEITH                                                        Contingent
          301 PLUS PARK BLVD STE 500                                            Unliquidated
          NASHVILLE, TN 37217                                                   Disputed
          Date(s) debt was incurred 8/25 & 11/28/17
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $125.81
          MY OFFICE SUPPLY                                                      Contingent
          PO BOX 306003                                                         Unliquidated
          NASHVILLE, TN 37230-6003                                              Disputed
          Date(s) debt was incurred 5/8 & 6/6/18
                                                                             Basis for the claim:    TRADE DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,149.78
          NATIONAL DISTRIBUTION AND                                             Contingent
          CONTACTING                                                            Unliquidated
          402 BNA DR STE 500                                                    Disputed
          NASHVILLE, TN 37217
                                                                             Basis for the claim:    PRODUCT REFUND
          Date(s) debt was incurred 6/18/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $930.00
          NDC                                                                   Contingent
          DEPT 169 PO BOX 37904                                                 Unliquidated
          CHARLOTTE, NC 28237-7904                                              Disputed
          Date(s) debt was incurred 7/4/18
                                                                             Basis for the claim:    INVENTORY STORAGE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,204.19
          OXFORD UNIVERSITY PRESS                                               Contingent
          THE CASHIERS OFFC                                                     Unliquidated
          GREAT CLARENDON ST                                                    Disputed
          OXFORD OX2 6DP
                                                                             Basis for the claim:    TRADE DEBT
          Date(s) debt was incurred 5/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $43,702.92
          PATTERSON INTELLECTUAL PROPERTY
          LAW PC                                                                Contingent
          ROUNDABOUT PLAZA                                                      Unliquidated
          1600 DIVISION ST                                                      Disputed
          NASHVILLE, TN 37203-2774
                                                                             Basis for the claim:    PROFESSIONAL SERVICES RENDERED
          Date(s) debt was incurred 5/10/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,500.00
          PORTER, STEPHEN                                                       Contingent
          127 HABERSHAM RD                                                      Unliquidated
          COLUMBIA, TN 38401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES RENDERED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,250.00
          PREMIER HEALTHCARE SOLUTIONS                                          Contingent
          5882 COLLECTIONS CENTER DR                                            Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred 5/31/18
                                                                             Basis for the claim:    TRADE DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $25.70
          PROTECTION 1                                                          Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    SERVICES RENDERED
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $195.00
          R & B BUILDING MAINTENANCE                                            Contingent
          PO BOX 291652                                                         Unliquidated
          NASHVILLE, TN 37229                                                   Disputed
          Date(s) debt was incurred 6/1/18
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $991,667.00
          REBROVICK, LINDA                                                      Contingent
          5202 CLOSE CIR                                                        Unliquidated
          NASHVILLE, TN                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYMENT AGREEMENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Integrated Healing Technologies, LLC                                                    Case number (if known)
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,292,636.00
          RODEWALD, ALBERT                                                      Contingent
          4814 BYRD LN                                                          Unliquidated
          COLLEGE GROVE, TN 37046                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $634,000.00
          RODEWALD, ALBERT                                                      Contingent
          4814 BYRD LN                                                          Unliquidated
          COLLEGE GROVE, TN 37046
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUBROGATION RIGHTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $73,793.57
          RUSH FOUNDATION HOSPITAL                                              Contingent
          1314 9TH AVE                                                          Unliquidated
          MERIDIAN, MS 39301-4116                                               Disputed
          Date(s) debt was incurred 6/18/18
                                                                             Basis for the claim:    PRODUCT CREDIT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,964.03
          SALESFORCE.COM INC                                                    Contingent
          PO BOX 203141                                                         Unliquidated
          DALLAS, TX 75320-3141                                                 Disputed
          Date(s) debt was incurred 5/20/18
                                                                             Basis for the claim:    Annual Contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $75,874.27
          SHERRARD ROE VOIGHT & HARBISON PLC                                    Contingent
          150 3RD AVE S                                                         Unliquidated
          NASHVILLE, TN 37201                                                   Disputed
          Date(s) debt was incurred 2/28 - 5/31/18
                                                                             Basis for the claim:    PROFESSIONAL SERVICES RENDERED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $456.32
          SHIP MY ORDERS INC                                                    Contingent
          1401 POPLAR LANE                                                      Unliquidated
          NASHVILLE, TN 37210-4519                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES RENDERED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $642.00
          SKYLINE EXHIBITOR SOURCE                                              Contingent
          144 BAIN DR, STE 100                                                  Unliquidated
          LAVERGNE, TN 37086                                                    Disputed
          Date(s) debt was incurred 7/2/2018
                                                                             Basis for the claim:    SERVICES RENDERED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 11
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 Debtor       Integrated Healing Technologies, LLC                                                    Case number (if known)
              Name

 3.57      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $179,865.00
           STANFORD UNIVERSITY                                                  Contingent
           PO BOX 44253                                                         Unliquidated
           SAN FRANCISCO, CA 94144-4253                                         Disputed
           Date(s) debt was incurred 1/31/2018
                                                                             Basis for the claim:    TRADE DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.58      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $121.05
           STERICYCLE INC                                                       Contingent
           PO BOX 6575                                                          Unliquidated
           CAROL STREAM, IL 60197-6575                                          Disputed
           Date(s) debt was incurred 6/1/18
                                                                             Basis for the claim:    SERVICES RENDERED
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.59      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $262,000.00
           TIMOTHY J PATTON TRUST                                               Contingent
           2100 LONDONDERRY                                                     Unliquidated
           ANN ARBOR, MI 48104                                                  Disputed
           Date(s) debt was incurred 8/31/17
                                                                             Basis for the claim:    MONEY LOANED
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.60      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $7,500.00
           TRK AESTHETIC CONSULTING                                             Contingent
           1302 GULLES HILL CT                                                  Unliquidated
           BRANDON, FL 33511                                                    Disputed
           Date(s) debt was incurred 6/1/18
                                                                             Basis for the claim:    SERVICES RENDERED
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.61      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $168.49
           ULINE                                                                Contingent
           PO BOX 88741                                                         Unliquidated
           CHICAGO, IL 60680-1741                                               Disputed
           Date(s) debt was incurred 6/5/18
                                                                             Basis for the claim:    TRADE DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.62      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,204.98
           UPS                                                                  Contingent
           28013 NETWORK PL                                                     Unliquidated
           CHICAGO, IL 60673-1280                                               Disputed
           Date(s) debt was incurred 6/4-6/18/18
                                                                             Basis for the claim:    TRADE DEBT - UPS 6Y1855 AND UPS FREIGHT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       UPS 6Y1855
           LOCKBOX 577                                                                                Line     3.62
           CAROL STREAM, IL 60132-0577
                                                                                                             Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 10 of 11
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 Debtor       Integrated Healing Technologies, LLC                                                Case number (if known)
              Name


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                       157.42
 5b. Total claims from Part 2                                                                       5b.   +   $                16,334,105.46

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   16,334,262.88




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 11 of 11
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 Fill in this information to identify the case:

 Debtor name         Integrated Healing Technologies, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   COPIER LEASE
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CIT
             List the contract number of any                                         21146 NETWORK PLACE
                   government contract                                               CHICAGO, IL 60673-1211


 2.2.        State what the contract or                   OFFICE LEASE
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                EXP 9/30/2019
                                                                                     JARAMILLO, ONESIMO
             List the contract number of any                                         4114 TRINITY LA
                   government contract                                               FRANKLIN, TN 37067


 2.3.        State what the contract or                   SPONSORSHIP
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                EXP 3/31/2020
                                                                                     PREMIER HEALTHCARE SOLUTIONS
             List the contract number of any                                         5882 COLLECTIONS CENTER DR
                   government contract                                               CHICAGO, IL 60693


 2.4.        State what the contract or                   EMPLOYMENT
             lease is for and the nature of               AGREEMENT
             the debtor's interest

                  State the term remaining                EXP 4/21/2021
                                                                                     REBROVICK, LINDA
             List the contract number of any                                         5202 CLOSE CIR
                   government contract                                               NASHVILLE, TN




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Integrated Healing Technologies, LLC                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   CRM SOFTWARE
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                EXP 6/15/2019
                                                                                      SALESFORCE.COM INC
             List the contract number of any                                          PO BOX 203141
                   government contract                                                DALLAS, TX 75320-3141




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Integrated Healing Technologies, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Integrated Healing Technologies, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $112,848.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $311,527.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                                 $76,973.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Integrated Healing Technologies, LLC                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               BCBST                                                       3/28/18,                         $56,065.84            Secured debt
               GROUP RECEIPTS DEPT                                         5/2/18,                                                Unsecured loan repayments
               PO BOX 6539                                                 5/31/18                                                Suppliers or vendors
               CAROL STREAM, IL 60197-6539                                                                                        Services
                                                                                                                                  Other

       3.2.
               FIRSTBANK                                                   3/27/18,                         $51,720.50            Secured debt
               211 COMMERCE ST, STE 300                                    4/30/18,                                               Unsecured loan repayments
               NASHVILLE, TN 37201                                         5/30/18                                                Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.3.
               SHERRARD ROE VOIGHT & HARBISON                              4/12/18,                         $35,439.71            Secured debt
               PLC                                                         5/17/18                                                Unsecured loan repayments
               150 3RD AVE S                                                                                                      Suppliers or vendors
               NASHVILLE, TN 37201                                                                                                Services
                                                                                                                                  Other

       3.4.
               PATTERSON INTELLECTUAL                                      3/28/18,                         $24,775.87            Secured debt
               PROPERTY LAW PC                                             6/5/18                                                 Unsecured loan repayments
               ROUNDABOUT PLAZA                                                                                                   Suppliers or vendors
               1600 DIVISION ST                                                                                                   Services
               NASHVILLE, TN 37203-2774                                                                                           Other

       3.5.
               INVICTA TECHNOLOGY, LLC                                     3/18/18,                         $24,001.73            Secured debt
                                                                           4/20/18,                                               Unsecured loan repayments
                                                                           5/16/18,                                               Suppliers or vendors
                                                                           6/18/18                                                Services
                                                                                                                                  Other

       3.6.
               TRK AESTHETIC CONSULTING                                    3/28/18,                         $22,500.00            Secured debt
               1302 GULLES HILL CT                                         5/2/18, 6/6/18                                         Unsecured loan repayments
               BRANDON, FL 33511                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.7.
               CSI MEDICAL                                                 3/28/18,                         $20,750.00            Secured debt
               170 COMMERCE WAY                                            4/12/18,                                               Unsecured loan repayments
               GALLATIN, TN 37066                                          4/20/18,                                               Suppliers or vendors
                                                                           5/8/18,                                                Services
                                                                           5/17/18,                                               Other
                                                                           5/23/18
       3.8.
               REGULATORY AND QUALITY                                      3/19/18,                         $18,941.25            Secured debt
               SOLUTIONS LLC                                               4/12/18,                                               Unsecured loan repayments
               2790 MOSSIDE BLVD, STE 800                                  5/11/18,                                               Suppliers or vendors
               MONROEVILLE, PA 15146                                       5/31/18                                                Services
                                                                                                                                  Other

       3.9.
               CORK MEDICAL                                                3/28/18,                         $18,221.46            Secured debt
               8050 CASTELWAY DR                                           4/20/18,                                               Unsecured loan repayments
               INDIANAPOLIS, IN 46250                                      4/26/18,                                               Suppliers or vendors
                                                                           5/10/18,                                               Services
                                                                           5/31/18,                                               Other
                                                                           6/5/18, 6/6/18

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 Debtor      Integrated Healing Technologies, LLC                                                       Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.10
       .
            HELL YEAH, LLC                                                 3/28/18,                         $15,000.00            Secured debt
               2518 37TH AVE NE                                            5/2/18,                                                Unsecured loan repayments
               MINNEAPOLIS, MN 55421                                       5/31/18                                                Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.11
       .
            ROBERT STEPHEN PORTER                                          4/12/18,                         $15,000.00            Secured debt
               127 HABERSHAM RD                                            5/16/18,                                               Unsecured loan repayments
               COLUMBIA, TN 38401                                          6/18/18                                                Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.12
       .
            TN DEPARTMENT OF REVENUE                                       4/6/18,                          $13,250.48            Secured debt
               TN ATTY GENERAL'S OFFC, BANKR                               4/12/18,                                               Unsecured loan repayments
               DIV                                                         4/16/18,                                               Suppliers or vendors
               PO BOX 20207                                                4/19/18,                                               Services
               NASHVILLE, TN 37202-0207                                    4/26/18,                                               Other Taxes
                                                                           4/26/18,
                                                                           5/4/18,
                                                                           5/4/18,
                                                                           6/13/18
       3.13
       .
            MEDITOP                                                        4/16/18,                         $12,298.82            Secured debt
               VLASAKKER 22                                                4/20/18,                                               Unsecured loan repayments
               MONTFOORT 0 3417 XT                                         5/17/18                                                Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.14
       .
            SALESFORCE.COM INC                                             3/28/18                          $10,914.08            Secured debt
               PO BOX 203141                                                                                                      Unsecured loan repayments
               DALLAS, TX 75320-3141                                                                                              Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.15
       .
            CARR RIGGS & INGRAM                                            6/6/18                             $9,850.00           Secured debt
               3011 ARMORY DRIVE STE190                                                                                           Unsecured loan repayments
               NASHVILLE, TN 37204                                                                                                Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.16
       .
            COMMERCIAL INSURANCE                                           4/12/18                            $8,794.75           Secured debt
               ASSOCIATES, LLC                                                                                                    Unsecured loan repayments
               103 POWELL CT                                                                                                      Suppliers or vendors
               BRENTWOOD, TN 37027-5050                                                                                           Services
                                                                                                                                  Other

       3.17
       .
            BES STUDIOS                                                    3/28/18                            $6,584.75           Secured debt
               5711 OLD OSBORNE TURNPIKE                                                                                          Unsecured loan repayments
               HENRICO, VA 23231                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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 Debtor      Integrated Healing Technologies, LLC                                                           Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                            Dates                  Total amount of value        Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                           Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss          Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

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11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     WALLER LANSDEN DORTCH
                 & DAVIS LLP
                 511 UNION ST, STE 2700
                 NASHVILLE, TN 37219                                                                                           6/22/2018            $20,000.00

                 Email or website address
                 www.wallerlaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     103 FORREST CROSSING BLVD, STE 103                                                                        2/2012 - 5/2018
                 FRANKLIN, TN 37064

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


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                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     US BANK                                         XXXX-0544                   Checking                 3/2018                             $201.15
                 PO BOX 1800                                                                 Savings
                 SAINT PAUL, MN 55101-0800                                                   Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     US BANK                                         XXXX-0502                   Checking                 1/2018                                 $0.00
                 PO BOX 1800                                                                 Savings
                 SAINT PAUL, MN 55101-0800                                                   Money Market
                                                                                             Brokerage
                                                                                             Other

       18.3.     US BANK                                         XXXX-4011                   Checking                 2017                                   $0.00
                 PO BOX 1800                                                                 Savings
                 SAINT PAUL, MN 55101-0800                                                   Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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          None

       Facility name and address                                      Names of anyone with                Description of the contents        Do you still
                                                                      access to it                                                           have it?
       NDC                                                            LINDA REBROVIK                      PhaseOne (40ml and 235ml)              No
       407 NEW SANFORD RD                                             5202 CLOSE CIR                                                             Yes
       LA VERGNE, TN 37086                                            NASHVILLE, TN 37205

                                                                      DAVE JOHNSON
                                                                      407 NEW SANFORD RD
                                                                      LA VERGNE, TN 37086

       SHIP MY ORDERS INC.                                            LINDA REBROVIK                      PhaseOne (40ml and 235ml),             No
       1401 POPLAR LANE                                               5202 CLOSE CIR                      OmniPhase, Spikeable Caps,             Yes
       NASHVILLE, TN 37210-4519                                       NASHVILLE, TN 37205                 NewEra Dome Kits (new)

       US STORAGE CENTERS                                             LINDA REBROVIK                      Unit G203- NEII Pump Bags,             No
       7102 BAKERS BRIDGE AVE                                         5202 CLOSE CIR                      Conference Materials,                  Yes
       BRENTWOOD, TN 37027                                            NASHVILLE, TN 37205                 Samples, etc.
                                                                                                          Unit C222- Items for Disposal,
                                                                                                          some Conference Materials,
                                                                                                          etc.

       RED CARPET SELF STORAGE                                        LINDA REBROVIK                      Unit 3090- Limited Active              No
       108 WERTHAN CIR                                                5202 CLOSE CIR                      Stock (Sorbact, pumps, etc.),          Yes
       FRANKLIN, TN 37064                                             NASHVILLE, TN 37205                 Shelving Units, and Samples
                                                                                                          Unit 2060- Active Stock
                                                                                                          (Sorbact, NEI and NEII
                                                                                                          Canisters, etc. - desk and
                                                                                                          conf table)
                                                                                                          Unit 2062- Active Stock
                                                                                                          (Sorbact, etc.)
                                                                                                          Unit 1163- Active Stock
                                                                                                          (Sorbact, Pumps, P1, Kits,
                                                                                                          etc.)
                                                                                                          Unit 1152- Pump cleaning
                                                                                                          room - Few Pumps, Folding
                                                                                                          Table, Stericycle bins,
                                                                                                          Shelving Unit



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       PAM DAVIS                                                                                                                  8/1/16 - 6/18/18
                    1235 BROADGATE DR
                    FRANKLIN, TN 37067
       26a.2.       LAURI PEARSON                                                                                                              4/1/16 - 12/1/17
                    502 HUNTINGTON RIDGE DR
                    NASHVILLE, TN 37221

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       CARR RIGGS & INGRAM                                                                                                        2014-2018
                    3011 ARMORY DRIVE STE 190
                    NASHVILLE, TN 37204

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.



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                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       CARR RIGGS & INGRAM
                    3011 ARMORY DRIVE STE 190
                    NASHVILLE, TN 37204
       26c.2.       LINDA REBROVICK
                    5202 CLOSE CIRCLE
                    NASHVILLE, TN 37205
       26c.3.       JEFF FISHER
                    539 CLOSE LANE
                    NASHVILLE, TN 37205
       26c.4.       PAM DAVIS
                    1235 BROADGATE DR
                    FRANKLIN, TN 37067
       26c.5.       JOHN BLOUNT
                    212 LARKTON PL
                    FRANKLIN, TN 37069

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.       FIRSTBANK
                    211 COMMERCE ST, STE 300
                    NASHVILLE, TN 37201

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 CARR, RIGGS & INGRAM
       .                                                                                    Q1 2017                  $740,473.00

                Name and address of the person who has possession of
                inventory records
                ROB SUMMERFORD
                3011 ARMORY DR, STE 190
                NASHVILLE, TN 37204


       27.2
       .

                Name and address of the person who has possession of
                inventory records
                DAVIS, PAM
                1235 BROADGATE DR
                FRANKLIN, TN 37067


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

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       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       REBROVICK, LINDA                               5202 CLOSE CIR                                      Chief Executive Officer
                                                      NASHVILLE, TN 37205

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       FISHER, JEFF                                   539 CLOSE LN                                        Chief Financial Officer
                                                      NASHVLLE, TN 37205

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       BLOUNT, JOHN                                   212 LARKTON PL                                      DIRECTOR
                                                      FRANKLIN, TN 37069

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       BRITTON, JAMES                                 3 GIBSON                                            DIRECTOR
                                                      LITTLEROCK, AR 72227

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       FISHER, JACK                                   5867 FREDERICKSBURG DR                              DIRECTOR
                                                      NASHVILLE, TN 37215

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       GOAD, FRED                                     917 STUART LN                                       DIRECTOR
                                                      BRENTWOOD, TN 37027

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       HEATH MD, ANDREW                               1 CARLYLE MANSIONS                                  DIRECTOR
                                                      LONDON SW3 5LS

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       LIPMAN, ROBERT                                 411 GREAT CIRCLE RD                                 DIRECTOR
                                                      NASHVILLE, TN 37228

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       MULLINS, KEITH                                 301 PLUS PARK BLVD STE 500                          DIRECTOR
                                                      NASHVILLE, TN 37217

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       RODEWALD, ALBERT                               4814 BYRD LN                                        DIRECTOR
                                                      COLLEGE GROVE, TN 37046

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       *SEE SHAREHOLDER
       ATTACHMENT SOFA.30



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


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       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       MARTIN BROWN, JR                               208 CRAIGHEAD ST                                    Board Member, Unit                2017
                                                      NASHVILLE, TN 37205                                 Holder

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       CHARLES MARTIN                                 40 BURTON HILLS BLVD, STE 100                       Board Member, Unit               Q1 - Q3 2017
                                                      NASHVILLE, TN 37215                                 Holder

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       CARLTON STINSON                                1120 TYNE BLVD                                      Board Member, Unit               Q1 - Q3 2017
                                                      NASHVILLE, TN 37220                                 Holder

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       PETE CARINO                                    1089 BROOKHAVEN SQ NE                               Chief Sales Officer              5/2016 - 7/2017
                                                      ATLANTA, GA 30319


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 9, 2018

 /s/ Albert Rodewald                                                    Albert Rodewald
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Co-Chair of the Board



 /s/ Robert Lipman                                                      Robert Lipman
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Co-Chair of the Board



Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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 ATTACHMENT SOFA.28
Integrated Healing Technologies, LLC
IHT Capitalization Summary - Sorted by Ownership
June 8, 2018

                                                        Total Units    Issued Units
                                Member                Ownership 6/8/18 Ownership %    Street Address                                 City      ST     Zip
Alexiares, LLC (M Brown Sr, M Brown Jr.)                      3,634.31    2.84%       208 Craighead Street                       Nashville     TN    37205
Alfery MD, David                                              1,147.56    0.90%       22 Wynstone                                 Nashville    TN    37215
Anderson, Stefanie                                              244.29    0.19%       2728 Blue Heron Dr.                        Florissant    MO    63031
Andrews, Thomas                                               1,025.36    0.80%       208 Jackson Blvd.                           Nashville    TN    37205
Baird, Ian                                                      366.70    0.29%       175 Baypointe Pkwy, APT 422                San Jose,     CA    95134
Baird, James                                                  2,540.78    1.99%       5214 Rustic Way                           Old Hickory    TN    37138
Bateman, Suzanne                                                 48.88    0.04%       1200 General McArthur Dr                  Brentwood      TN    37027
Bates, Reeda                                                    146.63    0.11%       497 Whispering Hills Dr                     Nashville    TN    37211
Baurle MD, Eric J                                               277.15    0.22%       1806 Ivy Crest Drive                      Brentwood      TN    37027
Bean Realty Partners LLC (Mark McDonald)                        195.51    0.15%       3841 Green Hills Village Dr, STE 400        Nashville    TN    37215
Bechert, Kari                                                    97.75    0.08%       1024 Ashland Avenue                        Evanston       IL   60202
Bence, Staci                                                     39.10    0.03%       497 Whispering Hills Drive                  Nashville    TN    37211
Bengel Living Trust (Charles Bengel)                            391.02    0.31%       1107 Fleming St                            Key West      FL    33040
Benrud, Constance                                               391.02    0.31%       510 W. Erie, #1901                          Chicago       IL   60654
Bergan, Jamie                                                    97.75    0.08%       5382 Cobbler Way                            Camillus     NY    13031
Betsy V Matlock Rev Trust                                       641.43    0.50%       353 Cuddy Ct                                 Naples      FL    34103
Bickel, Becky                                                    19.55    0.02%       1888 Wilson Pike                            Franklin     TN    37067
Blount, John E.                                               9,852.38    7.70%       212 Larkton Place                           Franklin     TN    37069
Blount, Scott C.                                                641.96    0.50%       3001 Del Curoto Rd, Unit B                    Austin     TX    78704
Bovender Jr, Jack                                             1,329.50    1.04%       520 Belle Meade Blvd                        Nashville    TN    37205
Brindle, Tod                                                    244.39    0.19%       6165 Bootsie Blvd.                          Henrico      VA    23231
Britton, James L                                              1,238.65    0.97%       3 Gibson                                   Little Rock   AR    72227
Brown MD, Phillip                                               774.87    0.61%       518 Park Center Drive                       Nashville    TN    37205
Browne, Michelle                                                 14.66    0.01%       3617 18th Street, NE                      Washington     DC    20018
Buford, Mark                                                    439.72    0.34%       1003 Heathrow Hills Court                 Brentwood      TN    37027
Bumstead, Frank                                                 391.02    0.31%       P.O. Box 340020                             Nashville    TN    37203
Burd, Paul                                                      146.57    0.11%       5516 Stanford Drive                         Nashville    TN    37215
Burr, Robert (Panther Exploration)                              633.50    0.50%       1314 Fairview Ave                        Bowling Green   KY    42103
Carmichael, Oliver Crom                                         802.24    0.63%       2605 Elm Hill Pike, Ste I                   Nashville    TN    37214
Castello, Chris                                                  14.66    0.01%       104 Bennington Rd                             Greer      SC    29650
Castrasim Holdings LLC (Holly Wall)                             195.51    0.15%       8600 Fern Avenue                          Shreveport     LA    71106
Church, Dallas Warren                                           195.51    0.15%       95 Christopher Street, APT 7i              New York      NY    10014
Coble, G. W. II                                                 195.51    0.15%       5033 Old Hickory Blvd                       Nashville    TN    37218
Coble, George William III                                       977.56    0.76%       7620 Old Charlotte Pike                     Nashville    TN    37209
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 ATTACHMENT SOFA.28
Integrated Healing Technologies, LLC
IHT Capitalization Summary - Sorted by Ownership
June 8, 2018

                                                         Total Units    Issued Units
                             Member                    Ownership 6/8/18 Ownership % Street Address                     City       ST     Zip
Conway-Welch, Colleen                                            391.02    0.31%     c/o Frank Bumstead              Nashville    TN    37203
                                                                                     PO BOX 340020
Davis, Pam                                                        39.10    0.03%     1235 Broadgate Drive             Franklin    TN   37067
Dixon, Paul                                                      244.29    0.19%     1651 Tammarron Ave SE         Grand Rapids   MI   49546
Downs, Doug                                                       97.76    0.08%     18723 Brookshade Ln             Louisville   KY   40245
Dudley MD, Bunyan S.                                              97.76    0.08%     507 Sandpiper Cir               Nashville    TN   37221
Dudley, Jonathan                                                  97.76    0.08%     325 Ideal Way                   Charlotte    NC   28203
Eaton, Karin C.                                                  726.58    0.57%     2012 25th Ave S                 Nashville    TN   37212
Entrekin, Hugh                                                   581.78    0.45%     1432 Tyne Blvd                  Nashville    TN   37215
Eskind, MD Jeffrey                                               391.02    0.31%     416 Ellensdale Ave              Nashville    TN   37205
Eskind, MD Steven                                                391.02    0.31%     2322 Golf Club Lane             Nashville    TN   37215
Fella, Henry                                                     629.10    0.49%     1306 Elizabeth Blvd            Fort Worth    TX   76110
Ferguson, Gary                                                 1,645.86    1.29%     9233 Old Smyrna Road           Brentwood     TN   37027
Fisher MD, Jack                                                5,502.88    4.30%     5867 Fredericksburg Drive       Nashville    TN   37215
Fisher, Jeff                                                     391.02    0.31%     539 Close Lane                  Nashville    TN   37205
Fisher, Patrick                                                   65.17    0.05%     15334 Azra Drive                 Odessa      FL   33556
Follin, Katherine                                              2,373.31    1.85%     4416 Gerald Place               Nashville    TN   37205
Freiberg, MD Craig                                               138.32    0.11%     4021 Overbrook Dr               Nashville    TN   37204
Gabriel, Allen                                                   195.51    0.15%     785 NW Valley Street              Camas      WA   98607
GDSA, LLC (Gary Sasser)                                          977.56    0.76%     1393 Old Hillsboro Rd            Franklin    TN 37069-9132
Geurin, Cassandra                                              1,663.58    1.30%     2201 Bowman Road                 Franklin    TN   37064
Gingrass, MD Mary                                                220.59    0.17%     1915 State St                   Nashville    TN   37203
Goad, Fred                                                       210.17    0.16%     917 Stuart Lane                Brentwood     TN   37027
Graham, Ritchey                                                  754.43    0.59%     65 Brookdwood Terrace           Nashville    TN   37205
Graymar Investors (Robert Lipman)                              3,262.14    2.55%     411 Great Circle Rd             Nashville    TN   37228
Grindstaff, Edward D.                                            195.51    0.15%     6210 Belle Rive Dr             Brentwood     TN   37027
Grotting MD, James C.                                            195.51    0.15%     2610 Caldwell Mill Lane        Birmingham    AL   35243
Haws, MD Melinda                                                 275.73    0.22%     35 Erwin Ct                     Nashville    TN   37205
Heath, MD Andrew                                               1,609.06    1.26%     1, Carlyle Mansions              London          SW3 5LS
                                                                                     52, Cheyne Walk
Hooper, John M III                                             2,130.02    1.66%     4410 Gerald Place              Nashville     TN    37205
Ingram POA, Orrin H.                                             575.97    0.45%     4400 Harding Rd                Nashville     TN    37205
Jackson, Clay                                                  1,069.65    0.84%     5819 Hillsboro Pike            Nashville     TN    37215
Johnson, Mac                                                      97.76    0.08%     1380 Old 122nd Rd              Lebanon       OH    45036
Kelleher, Kathleen                                               236.44    0.18%     6275 Jones Road                Burlington    WI    53105
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 ATTACHMENT SOFA.28
Integrated Healing Technologies, LLC
IHT Capitalization Summary - Sorted by Ownership
June 8, 2018

                                                            Total Units    Issued Units
                               Member                     Ownership 6/8/18 Ownership %    Street Address                        City         ST      Zip
Kerth, Andrew                                                        19.55     0.02%      5150 E Poinsettia Dr.               Scottsdale     AZ     85254
Lipman, Larry                                                       293.15     0.23%      5906 Hillsboro Pike                 Nashville      TN     37215
Mann, Charles                                                     5,131.96     4.01%      5853 Godwin Road                    Sante Fe       TN     38482
Martin Investment Holdings (Series 11)/Warrant                   19,493.38    15.24%      40 Burton Hills Blvd, STE 100       Nashville      TN     37215
Martin, Charles                                                     161.30     0.13%      40 Burton Hills Blvd, STE 100       Nashville      TN     37215
Maxwell, MD G. Patrick                                            2,910.79     2.27%      c/o Frank Bumstead                  Nashville      TN   37203-0020
                                                                                          PO BOX 340020
Mitchell, Williams, Selig, Gates PLLC (Harold Hamlin)               391.02     0.31%      425 W. Capitol Ave, STE 1800        Little Rock    AR     72201
Mixon, Josh                                                         696.52     0.54%      P. O. Box 13353                     Lexington      KY     40583
Moore, Janine E.                                                  1,164.84     0.91%      4650 Everal Lane                     Franklin      TN     37064
Moss-Dudley, Laurie                                                  97.76     0.08%      507 Sandpiper Cir                    Nashville     TN     37221
Mullins, Keith                                                       14.66     0.01%      301 Plus Park Blvd, STE 500          Nashville     TN     37217
Mulron, Timothy                                                     179.09     0.14%      717 Bresslyn Road                    Nashville     TN     37205
Nelson, Meredith B.                                                 291.15     0.23%      2704 Tyne Blvd                       Nashville     TN     37215
OLK Investments LLC (Lisa Monaco)                                   195.51     0.15%      3468 W Bluff Ave                      Fresno       CA     93711
O'Shaughnessy, MD Kristina                                          138.12     0.11%      2016 Sunset Hills Terrace            Nashville     TN     37215
Owen, Rhonda                                                        244.27     0.19%      4113 Helena Bay Ct                  Hermitage      TN     37076
Pearson, Lauri                                                      156.41     0.12%      502 Huntington Ridge Dr.             Nashville     TN     37211
Poe, Antoine (Tony)                                                 391.02     0.31%      2223 Kavanaugh Blvd                 Little Rock    AR     72205
Porter, Stephen                                                   2,127.42     1.66%      127 Habersham Rd                    Columbia       TN     38401
Reddy, MD V Sreenath                                                138.45     0.11%      3513 Woodmont Blvd                   Nashville     TN     37215
Rehberg, Kyle                                                       146.63     0.11%      5370 N. Hillbrooke Trace            Alpharetta     GA     30005
Reyes Ortega, Amerelis                                               39.10     0.03%      7817 Heaton Way                      Nashville     TN     37211
Ridgefield Properties (Marc Stengell)                             2,834.92     2.22%      201 4th Avenue North. STE 1960       Nashville     TN     37219
Rodewald, Albert                                                 16,412.75    12.83%      4814 Byrd Ln                      College Grove    TN     37046
Ross, Jay Hardin                                                  1,086.94     0.85%      4420 Gerald Place                    Nashville     TN     37205
Salene Trust (David Salene)                                       1,101.79     0.86%      3821 Inlet Isle Dr                Corona Del Mar   CA     92625
Santi, MD Steve F.                                                  214.29     0.17%      1105 Radnor Glen Drive              Brentwood      TN     37027
Schwaber, MD Mitchell                                               267.22     0.21%      703 Overton Park                     Nashville     TN     37215
Seezen, Hans                                                      1,107.81     0.87%      1204 Saxon Drive                     Nashville     TN     37215
Shock, Karen                                                         97.76     0.08%      682 CR 431                          Thorndale      TX     76577
Simonsen, Christopher M                                             276.12     0.22%      4013 Copeland Dr                     Nashville     TN     37215
Sitar, Ami                                                           14.66     0.01%      21304 S. Forrest View Drive        Shorewood       IL     60404
Smith Jr., George D.                                                195.51     0.15%      1207 Nichol Lane                     Nashville     TN     37205
Smith, David                                                      2,011.22     1.57%      735 East Iron Hill Road                Burns       TN     37029
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 ATTACHMENT SOFA.28
Integrated Healing Technologies, LLC
IHT Capitalization Summary - Sorted by Ownership
June 8, 2018

                                                       Total Units    Issued Units
                            Member                   Ownership 6/8/18 Ownership %    Street Address                           City       ST    Zip
Smith, Joe                                                   1,875.43    1.47%       570 Grand Drive, NE                   Cleveland     TN   37312
Smith, Joshua                                                1,745.22    1.36%       7002 Westbelt Drive                    Nashville    TN   37209
Smoot, DiAnn                                                    14.66    0.01%       3605 Poinciana Avenue                  Reading      PA   19605
Stevens, MD William Grant                                      926.88    0.72%       13455 Ventura Blvd, STE 208         Sherman Oaks    CA   91423
Stinson, Carlton                                             1,505.84    1.18%       1120 Tyne Blvd                         Nashville    TN   37220
Tran, Anthony                                                   95.20    0.07%       510 Gay Street, Apt. 1113              Nashville    TN   37219
Traylor, Kip                                                    14.66    0.01%       9000 Macauley Lane                    Nolensville   TN   37135
Wall, Bill                                                   1,516.14    1.18%       845 Middle Tennessee Blvd, STE B     Murfreesboro   TN   37129
Webb, William V. B.                                            600.87    0.47%       715 Belle Meade Blvd, APT C-1          Nashville    TN   37205
Wiley Jr., David W.                                            871.31    0.68%       109 Clarendon Ave                      Nashville    TN   37205
Wiley, Margaret H.                                             290.44    0.23%       109 Clarendon Ave                      Nashville    TN   37205
Witt, Brad                                                      97.72    0.08%       3791 Ross Park Dr                       Hoover      AL   35226
Witzenberger, MD Thomas                                        293.15    0.23%       901 East Camino Real, APT 7B         Boca Raton     FL   33432
Wodock, Pete                                                   244.39    0.19%       12106 Pebblepointe Pass                 Carmel      IN   46033
Woodward, Sara B.                                              629.10    0.49%       1306 Elizabeth Blvd                   Fort Worth    TX   76110
Wozniak, Chris                                                  97.76    0.08%       4 Split Rock Road                      Pittsford    NY   14534
Wright, Mark                                                   219.95    0.17%       419 Prestwick Ct.                      Nashville    TN   37205




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Middle District of Tennessee
 In re       Integrated Healing Technologies, LLC                                                             Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 20,000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Services normally and reasonably associated with this type of engagement which the Firm is requested and is
                 able to provide and which are consistent with its ethical obligations.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of Debtor or anyone else in connection with chapter 5 actions that may be initiated in any
               bankruptcy case; any advice or other legal services relating to federal or state tax or securities laws.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 9, 2018                                                                 /s/ JOHN C. TISHLER
     Date                                                                         JOHN C. TISHLER 013441
                                                                                  Signature of Attorney
                                                                                  Waller Lansden Dortch & Davis LLP
                                                                                  511 Union Street
                                                                                  Suite 2700
                                                                                  Nashville, TN 37219-1791
                                                                                  615-244-6380 Fax: 615-244-6804
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Middle District of Tennessee
 In re      Integrated Healing Technologies, LLC                                                          Case No.
                                                                                   Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Co-Chair of the Board of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       July 9, 2018                                               /s/ Albert Rodewald
                                                                        Albert Rodewald/Co-Chair of the Board
                                                                        Signer/Title



                                                                        /s/ Robert Lipman
                                                                        Robert Lipman/Co-Chair of the Board
                                                                        Signer/Title




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    INTEGRATED HEALING TECHNOLOGIES, LLC
    100A BETA DRIVE
    FRANKLIN TN 37064

    JOHN C. TISHLER
    WALLER LANSDEN DORTCH & DAVIS LLP
    511 UNION STREET
    SUITE 2700
    NASHVILLE, TN 37219-1791

    ABIGO MEDICAL SB
    SE-436
    33EKONOMIVAGEN 5
    SWEDEN

    ACOG
    EXHIBITS MANAGEMENT
    409 12TH ST SW
    WASHINGTON DC 20024-2188

    ACTION BUSINESS CONSULTING
    6051 RURAL PLAINS CIR, UNIT 301
    FRANKLIN TN 37074

    ADVANCED AMBULATORY INC
    PO BOX 981047
    HOUSTON TX 77098

    AESTHETIC COMPONENTS
    1200 WALD RD
    ORLANDO FL 32806

    AGASTI, JEN RN CWCA FACCWS
    141 PINE AVE
    FORCE PA 15841

    ALABAMA ORTHOPAEDIC SOCIETY
    1085 CHESSON HILL DR
    FITZPATRICK AL 36029

    ALEXANDER'S CATERING LLC
    511 UNION ST, STE 2626
    NASHIVLLE TN 37219

    ALEXANDER, MALLORY
    PO BOX 116450
    ATLANTA GA 30368-6450

    ALEXIARES LLC
    208 CRAIGHEAD ST
    NASHVILLE TN 37205

    ALFREY MD, DAVID
    22 WYNSTONE
    NASHVILLE TN 37215

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AMERICAN SOCIETY OF PLASTIC SURGEONS
ATTN: FINANCE DEPT
444 EAST ALGONQUIN RD
ARLINGTON HEIGHTS IL 60005

ANDERSON, STEFANIE
2728 BLUE HERON DR
FLORISSANT MO 63031

ANDREWS AGENCY LLC (THE)
209 10TH AVE S, STE 525
NASHVILLE TN 37203

ANDREWS, THOMAS
208 JACKSON BLVD
NASHVILLE TN 37205

ARKANSAS SECURITIES DEPT
HERITAGE WEST BLDG, STE 300
201 EAST MARKHAM ST
LITTLE ROCK AR 72201-1692

ARMACOST, JOHN
1692 S. WALNUT DR
WARSAW IN 46580

ATMOS ENERGY
PO BOX 790311
SAINT LOUIS MO 63179-0311

ATNIP, JOE
7316 OLD CLARKSVILLE PKE
JOELTON TN 37080

AWHONN
ATTN: MICHELE FLANAGAN RNC
9 MEDICAL PARK, STE 320
COLUMBIA SC 29203

BAIRD, IAN
175 BAYPOINTE PKWY, APT 422
SAN JOSE CA 95134

BAIRD, JAMES
5214 RUSTIC WAY
OLD HICKORY TN 37138

BARNEY, PAUL
PO BOX 842818
BOSTON MA 02284-2818

BASS, NANCY ANN
810 BELLEVUE RD UNIT 242
NASHVILLE TN 37221


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BATEMAN, MARY
1200 GENERAL MCARTHUR DR
BRENTWOOD TN 37027

BATEMAN, SUZANNE
1200 GENERAL MCARTHUR DR
BRENTWOOD TN 37027

BATES, REEDA
497 WHISPERING HILLS DR
NASHVILLE TN 37211

BAURLE MD, ERIC J
1806 IVY CREST DR
BRENTWOOD TN 37027

BEAN REALTY PARTNERS LLC
3841 GREEN HILLS VILLAGE DR, STE 400
NASHVILLE TN 37215

BECHERT, KARI
1024 ASHLAND AVENUE
EVANSTON IL 60202

BENCE, STACI
497 WHISPERNG HILLS DR
NASHVILLE TN 37211

BENCHMARK INVESTORS GROUP
400 SUGARTREE LN, STE 310
FRANKLIN TN 37064

BENGEL LIVING TRUST
1107 FLEMING ST
KEY WEST FL 33040

BENRUD, CONSTANCE
510 W ERIE, #1901
CHICAGO IL 60654

BERGAN, JAMIE
5382 COBBLER WAY
CAMILLUS NY 13031

BES STUDIOS
5711 OLD OSBORNE TURNPIKE
HENRICO VA 23231

BETSY V MATLOCK REVOCABLE TRUST
353 CUDDY CT
NAPLES FL 34103

BICKEL, BECKY
1888 WILSON PIKE
FRANKLIN TN 37067

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BLACK TIE MOVING NASHVILLE
320SEVEN SPRINGS WAY
BRENTWOOD TN 37027

BLOUNT, JOHN
212 LARKTON PL
FRANKLIN TN 37069

BLOUNT, SCOTT C
3001 DEL CUROTO RD, UNIT B
AUSTIN TX 78704

BOVENDER JR, JACK
520 BELLE MEADE BLVD
NASHVILLE TN 37205

BRINDLE, TOD
6165 BOOTSIE BLVD
HENRICO VA 23231

BRITTON, JIM
3 GIBSON
LITTLEROCK AR 72227

BROWN MD, PHILLIP
518 PARK CENTER DR
NASHVILLE TN 37205

BROWN, MICHELLE
3617 18TH ST NE
WASHINGTON DC 20018

BUCKEYE HOME HEALTH CARE
ATTN: BHHC WOUND FAIR
7700 PARAGON RD
SELKIRK NY 12158

BUFORD, MARK
1003 HEATHROW HILLS CT
BRENTWOOD TN 37027

BUMSTEAD, FRANK
PO BOX 340020
NASHVILLE TN 37203

BURD, PAUL
5516 STANFORD DR
NASHVILLE TN 37215

BURNS, BRANDON
3217 ROLLING STONE
OKLAHOMA CITY OK 73120




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BURR, ROBERT
1314 FAIRVIEW AVE
BOWLING GREEN KY 42103

BUSINESS FURNITURE WAREHOUSE
706 19TH AVE N
NASHVILLE TN 37203

CALDWELL, MEREDITH
28 INVERARAY
NASHVILLE TN 37215

CALVETTI, MIKE
194 ESMER CT
NEWARK DE 19711

CAPITAL DISTRICT WOCN
ATTN: MICHELLE MURRAY
7700 PARAGON RD
DAYTON OH 45459

CARINO, PETE
1089 BROOKHAVEN SQ NE
ATLANTA GA 30319

CARMICHAEL, CROM
2605 ELM HILL PIKEM STE I
NASHVILLE TN 37214

CARPENTER, JOHN
20 FOX FARMS RD
FLORENCE MA 01062

CARR RIGGS & INGRAM
3011 ARMORY DRIVE STE190
NASHVILLE TN 37204

CASTELLO, CHRIS
104 BENNINGTON RD
GREER SC 29650

CASTRASIM HOLDINGS LLC
8600 FERN AVE
SHREVEPORT LA 71106

CATHOLIC HEALTH SYSTEM
ATTN: KRISTIE COLEMAN
2625 HARLEM RD, STE 120
CHEEKTOWAGA NY 14225

CHARLOTTE CONVENTION CTR
C/O SMART CITY NETWORKS
5795 W BADURA AVE, STE 110
LAS VEGAS NV 89118


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CHURCH, DALLAS WARREN
95 CHRISTOPHER ST, APT 7I
NEW YORK NY 10014

CIT
21146 NETWORK PLACE
CHICAGO IL 60673-1211

CITY OF FRANKLIN
109 THIRD AVE S, STE 141
FRANKLIN TN 37064

CLARK-EVANS, CAROL P
1010 MANLEY LN
BRENTWOOD TN 37027

COBLE, G W II
5033 OLD HICKORY BLVD
NASHVILLE TN 37218

COBLE, GEORGE WILLIAM III
7620 OLD CHARLOTTE PIKE
NASHVILLE TN 37209

COLLINS, TIMOTHY
6933 GENTRY LN
MASON OH 45040

COMCAST
PO BOX 530098
ATLANTA GA 30353-0098

COMER, KEIA
PO BOX 306003
NASHVILLE TN 37230-6003

COMMERCIAL INSUR ASSOC LLC
103 POWELL CT, STE 100
BRENTWOOD TN 37027-5050

COMPLETE ANSWERING SERVICE
C/O ANSUR SYSTEMS LLS
5225 KATY FREEWAY, STE 409
HOUSTON TX 77077

CONCUR TECHNOLOGIES
62157 COLLECTIONS CENTER DR
CHICAGO IL 60693

CONWAY-WELCH, COLLEEN
C/O FRANK BUMSTEAD
PO BOX 340020
NASHVILLE TN 37203



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COPY SOLUTIONS
4091 MALLORY LANE STE 128
FRANKLIN TN 37067

CORK MEDICAL
8050 CASTELWAY DR
INDIANAPOLIS IN 46250

COSMAS, RONALD
1302 GUILES HILL CT
BRANDON FL 33511

COYOTE LOGISTICS LLC
PO BOX 742636
ATLANTA GA 30374-2636

CRAIG, MARGARET C
27 LEXINGTON GREEN
NASHVILLE TN 37215

CRUMP LAW PC
PO BOX 604
NEW CASTLE IN 46552

CRYSTAL SPRINGS
PO BOX 660579
DALLAS TX 75266-0579

CSI MEDICAL
170 COMMERCE WAY
GALLATIN TN 37066

DALTON, PAUL
1200 WALD RD
ORLANDO FL 32806

DARDEN, MATT
144 BAIN DR, STE 100
LA VERGNE TN 37086

DAVIS, JEFFREY K III
1235 BROADGATE DR
FRANKLIN TN 37067

DAVIS, PAM
1235 BROADGATE DR
FRANKLIN TN 37067

DELL
PAYMENT PROCESSING CTR
PO BOX 5275
CAROL STREAM IL 60197-5275




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DEMPSEY, KRISSY
PO BOX 743699
ATLANTA GA 30374-3699

DICKE, JAMES F II
40 S WASHINGTON ST
NEW BREMEN OH 45869

DIXON, PAUL
1651 TAMMARRON AVE SE
GRAND RAPIDS MI 49546

DONNELLEY FINANCIAL SOLUTIONS
PO BOX 842282
BOSTON MA 02284-2282

DOWNS, DOUG
18723 BROOKSHADE LN
LOUISVILLE KY 40245

DRUG ENFORCEMENT ADMIN
ATTN: REGISTRATION SECTION/ODR
PO BOX 2639
SPRINGFIELD VA 22152-2639

DUDLEY MD, BUNYAN S
507 SANDPIPER CIR
NASHVILLE TN 37221

DUDLEY, JONATHAN
325 IDEAL WAY
CHARLOTTE NC 28203

DUNSTAN GROUP LLC (THE)
1200 E MOREHEAD ST #140
CHARLOTTE NC 28204

EAG INC
PO BOX 604
NEW CARLISLE IN 46552

EATON, KARIN C
2012 25TH AVE S
NASHVILLE TN 37212

ELCAM MEDICAL INC
2 UNIVERSITY PLAZA, STE 620
HACKENSACK NJ 07061

ELDRIDGE, WILLIAM C
DBA SURG & AESTHETIC LIGHT TECHNOLOGIES
11605 APRILBUD DR
HENRICO VA 23233



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ELLSWORTH ADHESIVES
W129 N10825 WASHINGTON DR
GERMANTOWN WI 53022

EMERY PHARMA
1000 ATLANTIC AVE, STE 110
ALAMEDA CA 94501

ENTREKIN, HUGH
1432 TYNE BLVD
NASHVILLE TN 37215

ESKIND MD, JEFFREY
416 ELLENSDALE AVE
NASHVILLE TN 37205

ESKIND MD, STEVEN
2322 GOLF CLUB LN
NASHVILLE TN 37215

ET ASSOCIATES
ATTN: MARY ELLEN SCHRADER
PO BOX 617
NEW HARTFORD NY 13413

FED EX
PO BOX 371461
PITTSBURGH PA 15250-7461

FELL, KEITH
507 CARONDELET ST
MANDEVILLE LA 70448

FELLA, HENRY
1306 ELIZABETH BLVD
FORT WORTH TX 76110

FERGUSON, GARY
9233 OLD SMYRNA RD
BRENTWOOD TN 37027

FIRSTBANK
211 COMMERCE ST, STE 300
NASHVILLE TN 37201

FISHER, JACK
5867 FREDERICKSBURG DR
NASHVILLE TN 37215

FISHER, JEFF
539 CLOSE LN
NASHVILLE TN 37205




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FISHER, PATRICK
15334 AZRA DR
ODESSA FL 33556

FIVE IRON TECHNOLOGIES
501 CORPORATE CTR, STE 510
FRANKLIN TN 37067

FIVE STAR VENTURE FUNDING
2002 TYNE BLVD
NASHVILLE TN 37215

FLASHBAY, INC
569 CLYDE AVE, UNIT 500
MOUNTAIN VIEW CA 94043

FLATT, STEPHEN F
1872 SANCTUARY PL
MURFREESBORO TN 37128

FLORIDA PLASTIC SURGERY SOCIETY (THE)
ATTN SUSAN RUSSELL
6300 SAGEWOOD DR STE H255
PARK CITY UT 84098

FLOSURE TECHNOLOGIES LLC
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FOLLIN, KATHY
4416 GERALD PL
NASHVILLE TN 37205

FREEMAN EXHIBITOR SVCS
PO BOX 660613
DALLAS TX 75266-0613

FREIBERG MD, CRAIG
4021 OVERBROOK DR
NASHVILLE TN 37204

GABRIEL, ALLEN
785 NW VALLEY ST
CAMAS WA 98607

GALBRAITH, DOUG
931 ROLLING MEADOWS RD
WAYNESBURG PA 15370

GDSA LLC
1393 OLD HILLSBORO RD
FRANKLIN TN 37069-9132




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GE VAN BREUKELEN
VLASAKKER 22
MONTEFORT    3417 XT

GEORGIA DEPT OF REVENUE
COMPLIANCE DIV - ARCS BANKRUPTCY
1800 CENTURY BLVD NE STE 9100
ATLANTA GA 30345-3202

GEURIN, CASSANDRA
2201 BOWMAN RD
FRANKLIN TN 37064

GILL, DON
3011 ARMORY DR, STE 190
NASHVILLE TN 37204

GINGRASS MD, MARY
1915 STATE ST
NASHVILLE TN 37203

GOAD, FRED
917 STUART LN
BRENTWOOD TN 37027

GRAHAM, RITCHEY
65 BROOKWOOD TER
NASHVILLE TN 37205

GRAYMAR INVESTORS
411 GREAT CIRCLE RD
NASHVILLE TN 37228

GREATER CINCINNATI WOUND OSTOMY ASSOC
WEST CHESTER HOSP ATTN: JACKIE BROWN
7700 HOSPITAL DR, OFFC 4003
WEST CHESTER OH 45069

GRIFFITH, CHARLES B
108 HARDING PL #203
NASHVILLE TN 37205

GRINDSTAFF, EDWARD D
6210 BELLE RIVE DR
BRENTWOOD TN 37027

GROTTING MD, JAMES C
2610 CALDWELL MILL LN
BIRMINGHAM AL 35243

GROWTHWRIGHT
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GS1 US INC
DEPT 781271
PO BOX 7800
DETROIT MI 48278-1271

GSI US INC
DEPT 781271

GUTHRIE, STEPHEN D
32416 MARIA CT
LIVONIA MI 48152

HALL, WESLEY
937 FALLVIEW TRAIL
NASHVILLE TN 37211

HANNULA, DON
DEPT CH 19041
PALATINE IL 60055-9041

HAWS MD, MELINDA
35 ERWIN CT
NASHVILLE TN 37205

HEALTHCO SEARCH INTERATIONAL
C/O BOB HUTCHISON
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LAKE ORION MI 48362

HEATH MD, ANDREW
1 CARLYLE MANSIONS
52 CHEYNE WALK
LONDON SW3 5LS

HELL YEAH LLC
2518 37TH AVE NE
ST ANTHONY MN 55421

HMP COMMUNICATIONS
70 E SWEDESFORD RD, STE 100
MALVERN PA 19355

HOLMES, TAYLOR
112 WICKHAM CT
HENDERSONVILLE TN 37075

HOOPER, JOHN M III
4410 GERALD PL
NASHVILLE TN 37205

INGRAM POA, ORIN H
4400 HARDING RD
NASHVILLE TN 37205



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INGRAM, ORIN H II
1475 MORAN RD
FRANKLIN TN 37069

INNOVATIVE RESOURCE INC
547 MEADOWVIEW DR
WAUCONDA IL 60084

INVICTA TECHNOLOGY LLC


JACKSON, CLAY
5819 HILLSBORO PKE
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JARAMILLO, ONESIMO
4114 TRINITY LA
FRANKLIN TN 37067

JOHJNSON, MAC
1380 OLD 122ND RD
LEBANON OH 45036

JOHNSON'S LOCK & KEY
413 INDEPENDENCE SQ
FRANKLIN TN 37064

JOHNSON, MARC
1380 OLD 122ND RD
LEBANON OH 45036

JP DISPLAY
327 WEST REDBERRY RD
DRAPER UT 84020

JUNK KING NASHVILLE
125 SPACE PARK S
NASHVILLE TN 37211

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BURLINGTON WI 53105

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LIPMAN, LARRY
5906 HILLSBORO PKE
NASHVILLE TN 37215

LIPMAN, ROBERT
411 GREAT CIRCLE RD
NASHVILLE TN 37228

LLOYD, MATT
PO BOX 251
THOMPSON STATION TN 37179

LOCH COMPANY
PO BOX 92
ARRINGTON TN 37014

LOUISIANA BD OF DRUGS
12091 BRICKSOME AVE, STE B
BATON ROUGE LA 70816

LYNCH, TIM
2125 ANTIGUA DR
LEXINGTON KY 40509

MANN, CHARLES
5853 GODWIN RD
SANTE FE TN 38482

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NASHVILLE TN 37215

MARTIN, CHARLES
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GERMANTOWN WI 53022




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MCMAHAN, JOE
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2211 NORFOLK, STE 403
HOUSTON TX 77098

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VLASAKKER 22
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LIBERTYVILLE-B02
1501 HARRIS RD
LIBERTYVILLE IL 60048

MEDRIO INC
PO BOX 398372
SAN FRANCISCO CA 94139-8372

MERCY SURGICAL DRESSING GROUP INC.
4 ZESTA DR
PITTSBURGH PA 15205

MICHIGAN SECTION ACOG
C/O KAREN CARTER
3031 W GRAND BLVD, STE 645
DETROIT MI 48202

MIDDLE TN ELECTRIC MEMBERSHIP CORP
555 NEW SALEM HWY
MURFREESBORO TN 37129

MIDEAST REGION KY WOCN
C/O BETH FANGMAN
3609 GLENCREEK LN
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MITCHELL WILLIAMS SELIG GATES PLLC
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LEXINGTON KY 40583

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4650 EVERAL LN
FRANKLIN TN 37064


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MOSS-DUDLEY, LAURIE
507 SANDPIPER CIR
NASHVILLE TN 37221

MULLINS, KEITH
301 PLUS PARK BLVD STE 500
NASHVILLE TN 37217

MULRON, TIMOTHY
717 BRESSLYN RD
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MURARI, CHOKSI
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MURPHY, SUSAN
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MURRAY, CHRISTIAN
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FRANKLIN TN 37064

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IRVINE CA 92606-1024

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NORTH, DAVID
14142 KINGS FARM CT
MIDLOTHIAN VA 23113

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NOVACOPY
PO BOX 372 DEPT 200
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5999 AVENIDA ENCINAS STE 100
CARLSBAD CA 92008

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2016 SUNSET HILLS TER
NASHVILLE TN 37215

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BWC STATE INSUR FUND
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COLUMBUS OH 43215

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2020 BLANKENSHIP HALL
901 WOODY HAYES DR
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OLK INVESTMENTS LLC
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OWEN, RHONDA
4113 HELENA BAY CT
HERMITAGE TN 37076

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PACIFIC BIOLABS
551 LINUS PAULING DR
HERCULES CA 94547

PAOS
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GLENDALE AZ 85318

PARANET CORP SVCS INC
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DULUTH GA 30096

PATTERSON INTELLECTUAL PROPERTY LAW PC
ROUNDABOUT PLAZA
1600 DIVISION ST
NASHVILLE TN 37203-2774

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PEACE COMMUNICATIONS LLC
PO BOX 909
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PEARSON, LAURI
502 HUNTINGTON RIDGE DR
NASHVILLE TN 37211

PENSAR MEDICAL LLC
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PHARMACO THERAPY CONSULTANTS LLC
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BRENTWOOD TN 37027

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PORTER, STEPHEN
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COLUMBIA TN 38401

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5882 COLLECTIONS CENTER DR
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NASHVILLE TN 37210

PROTECTION 1


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PUPELIS, ROB
2211 NORFOLK STE 403
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MONROEVILLLE PA 15146

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7810 SOLUTION CTR
CHICAGO IL 60677-7008

REALSCENARIO INC
3745 SAN SIMEON CIR
WESTON FL 33331

REBROVICK, LINDA
5202 CLOSE CIR
NASHVILLE TN 37205

RED CARPET SELF STORAGE
108 WERTHAN CIR
FRANKLIN TN 37064

REDDY MD, V SREENATH
3513 WOODMONT BLVD
NASHVILLE TN 37215

REHBERG, KYLE
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ALPHARETTA GA 30005

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NASHVILLE TN 37219-3009

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ROBERT HALF EXECUTIVE SEARCH
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ROMANO, CRYSTAL
3108 DEERFIELD RIDGE DR
MCDONALD PA 15057

ROSS, JAY HARDIN
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RUSH FOUNDATION HOSPITAL
1314 9TH AVE
MERIDIAN MS 39301-4116

SAFE-DRY CARPET CLEANING
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BIRMINGHAM AL 35209

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BOHEMIA NY 11716

SCHWABER MD, MITCHELL
703 OVERTON PK
NASHVILLE TN 37215

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SCR OF THE WOCN SOCIETY
ATTN: JANET FIELDS
5522 S DELAWARE CT
TULSA OK 74105

SECRETARY OF STATE, DELAWARE
DIV OF CORPORATIONS
PO BOX 5509
BINGHAMTON NY 13902-5509

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1204 SAXON DR
NASHVILLE TN 37215

SESLER, DEBBIE AND LYNETTE
301 ROSA L PARKS #411
NASHVILLE TN 37203

SHAREFILE
120 S WEST ST
RALEIGH NC 27603

SHEPARD EXPOSITION SVCS
1424 HILLS PL
ATLANTA GA 30318

SHERRARD ROE VOIGHT & HARBISON PLC
150 3RD AVE S
NASHVILLE TN 37201

SHIP MY ORDERS INC
1401 POPLAR LANE
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SHIP MY ORDERS INC.
4031 INDUSTRIAL CTR DR STE 705
NORTH LAS VEGAS NV 89030

SHOCK, KAREN
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SIMONSEN, CHRISTOPHER M
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SITAR, AMI
21304 S FORREST VIEW DR
SHOREWOOD IL 60404

SKYLINE EXHIBITOR SOURCE
144 BAIN DR, STE 100
LAVERGNE TN 37086



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SMITH JR, GEORGE D
1207 NICHOL LN
NASHVILLE TN 37205

SMITH MD, DELL PARKER
1880 FILLMORE AVE N
TWIN FALLS ID 83301

SMITH, DAVID
735 EAST IRON HILL RD
BURNS TN 37029

SMITH, JOE
570 GRAND DR NE
CLEVELAND TN 37312

SMITH, JOSHUA
7002 WESTBELT DR
NASHVILLE TN 37209

SMOOT, DIANN
3605 POINCIANA AVE
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SPI
LINCOLN TOWER PLAZA STE 505
524 S 2ND ST
SPRINGFIELD IL 62701

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SHERMAN OAKS CA 91423

STINSON, CARLTON
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STITES & HARBISON PLLC
SUNBTRUST PLAZA
401 COMMERCE ST, STE 800
NASHVILLE TN 37219



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TIMOTHY J PATTON TRUST
2100 LONDONDERRY
ANN ARBOR MI 48104

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5520 INDUSTRIAL RD
MOUNT VERNON IN 47620

TN DEPARTMENT OF REVENUE
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TN DEPT COMMERCE & INSUR
C/O TN ATTY GENERAL'S OFFC, BANKR DIV
PO BOX 20207
NASHVILLE TN 37243-0207

TN DEPT ENVIRONMENT & CONSERVATION
C/O TN ATTY GENERAL'S OFFC, BANKR DIV
PO BOX 20207
NASHVILLE TN 37202-0207

TN SEC OF STATE
C/O TN ATTY GENERAL'S OFFC, BANKR DIV
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ROCHESTER NY 14642

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28013 NETWORK PL
CHICAGO IL 60673-1280

UPS 6Y1855
LOCKBOX 577
CAROL STREAM IL 60132-0577

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US BANK
TMS-C/M 9581
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US STORAGE CTRS
7102 BAKERS BRIDGE AVE
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CANBY OR 97013

VENDORMATE
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FARIFIELD NJ 07004

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WEBB, NANCY
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WELTY, TERRI
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WETRICH GROUP
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SOUTHLAKE TX 76092

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WILEY, MARGARET H
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AUSTIN TX 78717

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WITT, BRAD
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BIRMINGHAM AL 35226

WITZENBERGER MD, THOMAS
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BOAC RATON FL 33432

WOCN
ATTN CHRIS BROWN
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MOUNT LAUREL NJ 08054

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12106 PEBBLEPOINTE PASS
CARMEL IN 46033

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FORT WORTH TX 76110

WOUND CARE CO UK LTD (THE)
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M3 5EQ MANCHESTER

WOUND CARE EDUCATION INST
25828 PASTORAL DR
PLAINFIELD IL 60585

WOUND SOURCE
KESTREL HEALTH INFORMATION INC
PO BOX 189
HINESBURG VT 05461

WOUNDEDUCATORS.COM LLC
ATTN LAURIE SWEZEY
4521 PGA BLVD #508
PALM BCH GARDENS FL 33418


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WOZNIAK, CHRIS
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419 PRESTWICK CT
NASHVILLE TN 37205

WU, ROY
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YAEGER, WAYNE
3234 RAMBLING HILL CT
ALLENWOOD NJ 08720




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                                                               United States Bankruptcy Court
                                                                      Middle District of Tennessee
 In re      Integrated Healing Technologies, LLC                                                           Case No.
                                                                                  Debtor(s)                Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Integrated Healing Technologies, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
 ALBERT RODEWALD
 4814 BYRD LN
 COLLEGE GROVE, TN 37046
 MARTIN INVESTMENT HOLDING LLC -SERIES 11
 40 BURTON HILLS, STE 100
 NASHVILLE, TN 37215




    None [Check if applicable]




 July 9, 2018                                                          /s/ JOHN C. TISHLER
 Date                                                                  JOHN C. TISHLER 013441
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Integrated Healing Technologies, LLC
                                                                       Waller Lansden Dortch & Davis LLP
                                                                       511 Union Street
                                                                       Suite 2700
                                                                       Nashville, TN 37219-1791
                                                                       615-244-6380 Fax:615-244-6804




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